          Case 1:17-cv-02003-GBD-SN Document 18 Filed 04/21/17 Page 1 of 7




                     MDL 1570 PLAINTIFFS’ EXECUTIVE COMMITTEES
                             In re: Terrorist Attacks on September 11, 2001 (S.D.N.Y.)

    Plaintiffs’ Executive Committee for Personal                      Plaintiffs’ Executive Committee for
               Injury and Death Claims                                         Commercial Claims
Ronald L. Motley (1944-2013)                                   Elliot R. Feldman, Co-Chair
Jodi Westbrook Flowers / Donald A. Migliori, Co-Chairs         Sean Carter, Co-Chair
MOTLEY RICE LLC                                                COZEN O’CONNOR
James P. Kreindler, Co-Chair
KREINDLER & KREINDLER LLP
Andrew J. Maloney III, Co-Liaison Counsel                      J. Scott Tarbutton, Liaison Counsel
KREINDLER & KREINDLER LLP                                      COZEN O’CONNOR
Robert T. Haefele, Co-Liaison Counsel
MOTLEY RICE LLC
                                                         VIA ECF
April 21, 2017

The Honorable Sarah Netburn, U.S. Magistrate Judge
United States District Court for the S.D.N.Y.
Thurgood Marshall U.S. Courthouse, Room 430
40 Foley Square
New York, NY 10007


              Re:       In Re: Terrorist Attacks on September 11, 2001, 03 MDL 1570 (GBD) (SN)
                    MOTION TO QUASH DUBAI ISLAMIC BANK’S NOTICE OF DEPOSITION
                    OF DR. HUSSEIN HAMID HASSAN AND FOR PROTECTIVE ORDER
Dear Judge Netburn:
         The Plaintiffs’ Executive Committees (“PECs”) write to oppose the April 20, 2017 letter
from Steven Cottreau, counsel for Dubai Islamic Bank (“DIB”). Plaintiffs oppose DIB’s request to
“permit[] the planned deposition on May 4 and 5 of Dr. Hussein Hamid Hassan. (‘Dr. Hassan’).”
Further, pursuant to Federal Rule of Civil Procedure 26(c), plaintiffs move to quash the
Notice of Deposition of Dr. Hassan, served by DIB on April 19, 2017. The deposition notice
contemplates that Dr. Hassan’s deposition would be conducted in London on May 3 and 4, 2017, 1
beginning at 9 a.m. each day continuing until approximately 1 p.m., at the London offices of DIB’s
counsel. DIB has advised that it intends to use the first day to preserve Dr. Hassan’s testimony for
trial, and that plaintiffs would be limited in their questioning to the four hours reserved for the
second day, which under DIB’s proposal would necessarily be consumed by cross examination.
DIB has further indicated that it will not make Dr. Hassan available at any other time to allow
plaintiffs an opportunity to discover information and evidence in Dr. Hassan’s possession.
        The deposition proposed in the notice served Wednesday at 8:30 pm, the night before DIB
sent its letter request to the Court, would be the first party deposition in this MDL to be held
outside of the United States, and the first de bene esse deposition in this MDL. No existing Case
Management Order sets forth protocols for foreign depositions or de bene esse depositions.

1 Although DIB’s April 20, 2017 letter asks the court to permit the “planned deposition on May 4 and 5,” the

notice, included at DIB’s Exhibit C, noticed the deposition for May 3 and 4.
        Case 1:17-cv-02003-GBD-SN Document 18 Filed 04/21/17 Page 2 of 7
The Honorable Sarah Netburn
April 21, 2017
Page 2
_______________________________________

        Plaintiffs do not object in principal to conducting depositions of Dr. Hassan at a mutually
agreeable date in the near future, upon an adequate showing of necessity and after appropriate
protocols have been negotiated and implemented to ensure due process, fairness, and the orderly
conduct of this and any further de bene esse depositions in this MDL. However, because those issues
remain unresolved, through no fault of plaintiffs, and neither DIB nor any other defendant has
sought to confer about what procedures the parties might recommend, it would be highly prejudicial
for the deposition to proceed on the limited notice provided and pursuant to DIB’s unilaterally
proscribed, one-sided protocols.
          Accordingly, plaintiffs respectfully request that the Court quash the deposition notice and
issue a protective order on the grounds that DIB failed to provide adequate notice of the foreign de
bene esse deposition; failed to confer with plaintiffs regarding protocols and other material issues that
must be resolved before this or any other proposed foreign or de bene esse deposition takes place in
this MDL; proposes to use the deposition to preserve Dr. Hassan’s trial testimony without affording
plaintiffs any advanced opportunity to conduct a discovery deposition of Dr. Hassan, and under
circumstances that would limit plaintiffs’ questioning to a few hours after DIB completes direct
questioning; and has failed to show why the deposition is necessary or cannot be deferred for a few
weeks to allow time for the parties to confer on these and other issues and potentially complete
document discovery.
        In connection with his oversight of all discovery proceedings in this MDL, Judge Frank
Maas previously directed that party depositions should, as a general matter, not go forward until the
completion of document productions by all parties. See, e.g., ECF Nos 2260 and 2381 (ordering
deadline for concluding document production before depositions may begin). During the hearing
on October 20, 2016, counsel for DIB indicated it may have interest in securing a departure from
that general rule to preserve the testimony of one or more witnesses. The Court directed the parties
to confer regarding the issue. About four months later, counsel for DIB sent an email to plaintiffs’
counsel on February 27, 2017, stating a desire to “move forward with one or more depositions to
preserve testimony. Towards that end, we propose to take the deposition of Dr. Hussein Hamid
Hassan, Chairman of Dubai Islamic Banks’s Fatwa and Sharia Supervisory Board. We propose
taking his seven hour deposition in London over two half days on the mornings of May 3 and 4.”
Counsel for DIB’s February 27, 2017 email concluded by stating “can you let me know if these dates
work for you and we will notice the deposition and make arrangements for it?” (emphasis supplied). The
email provided no details about how DIB contemplated that the deposition would proceed, the
order of questioning contemplated, the purpose for taking Dr. Hassan’s testimony, the alleged
reason it was necessary to preserve Dr. Hassan’s testimony at this time, or for that matter where in
London it was expected that the deposition would take place.
         Plaintiffs responded the following day, advising that the dates “work for folks on our side.”
However, plaintiffs’ counsel expressly noted that “we have not discussed any potential issues relating
to location, duration or sequence of depositions that might be implicated by this proposal. For the
time being, we think it makes sense to lock in the dates, and we can address any other issues
presented by the proposed deposition, if there are any, in due course.” Plaintiffs expected that the
parties’ conversations on those issues would be set in motion by the service of a deposition notice,
as promised in DIB’s counsel’s email, and hopefully informed by details included in that notice. Or
at least that counsel for DIB would, as directed by the Court, seek to confer regarding those issues
to reach agreement on how the parties would pursue foreign and de bene esse depositions in the MDL.
        Case 1:17-cv-02003-GBD-SN Document 18 Filed 04/21/17 Page 3 of 7
The Honorable Sarah Netburn
April 21, 2017
Page 3
_______________________________________

        Although plaintiffs’ counsel’s email indicated that plaintiffs anticipated process and logistical
issues that would require attention before the deposition could proceed by agreement, plaintiffs
heard nothing from counsel for DIB about the proposed deposition for almost two months.
        In that two month interim, the landscape of the MDL changed significantly. At defendants’
request, the Court extended the deadline for the parties to complete their document productions
from March 30, 2017 (before the proposed deposition date) to June 16, 2017 (after the proposed
deposition date). In addition, plaintiffs in several new actions had named DIB as a defendant, and
the Court directed the parties to confer regarding how the claims against DIB and other non-
sovereign defendants in the new cases would be coordinated with proceedings in the original cases.
         Under the circumstances, plaintiffs reasonably interpreted DIB’s silence to mean that DIB
had deferred the deposition until document productions were complete (under an extension
requested by the defendants), issues about coordination of the new claims against DIB had been
resolved, and protocols for foreign and de bene esse depositions would be negotiated and implemented
by the Court. The understanding was especially reasonable in light of DIB’s silence – i.e., since the
hearing in October 2016, aside from the “save the date” email exchange four months later in
February, plaintiffs had received no communication from DIB about any deposition. Even absent
plaintiffs counsel’s admonition in February, surely DIB’s counsel knew that arranging an overseas de
bene esse deposition (particularly one that, as proposed, would consume a week’s time at substantial
cost) in a large MDL would necessitate negotiated protocols and substantial advanced notice, if for
no other reason than to plan reasonable travel and accommodations. But DIB sent no formal notice
nor any other communication, either about the proposed deposition or about protocols that might
be used for this and other similar depositions in the MDL.
         On April 14, 2017, plaintiffs’ counsel sent another email to counsel for DIB, noting that
DIB had never served any notice for the proposed deposition. In response, counsel for DIB sent an
email advising that it intended to proceed with the deposition on May 3 and 4, 2017. The email,
prompted only by plaintiffs’ inquiry, advised for the first time that DIB intended to proceed with its
direct questioning of Dr. Hassan first, and that DIB expected plaintiffs’ cross-examination to be
limited to a four-hour window the following day. The email also identified, for the first time, the
proposed location of the deposition in London, a basic piece of information necessary for plaintiffs
to make reasonable travel arrangements that had not previously been provided (itself a reason
plaintiffs reasonably understood that DIB had deferred the deposition). In a telephone discussion a
few days later, DIB’s counsel emphasized that Dr. Hassan’s and DIB’s counsels’ travel plans were
well established; prompting the question as to why no notice had been sent to plaintiffs’ counsel to
make similar accommodations.
       For the following three principal reasons, Plaintiffs respectfully request that the Court quash
the deposition notice of Dr. Hassan and direct the parties to confer concerning the rescheduling of
Dr. Hassan’s deposition after the parties have negotiated protocols for foreign de bene esse depositions
and the parameters for questioning of the witness.
        1.      As proposed by DIB, the deposition would be prejudicial and unfair to plaintiffs.
       DIB acknowledges its intent to use the deposition to perpetuate the trial testimony of Dr.
Hassan, the head of DIB’s Sharia Board and someone who presumably will profess to hold expertise
concerning complicated issues of Sharia compliant finance. DIB’s proposal, on less than 14 days’
        Case 1:17-cv-02003-GBD-SN Document 18 Filed 04/21/17 Page 4 of 7
The Honorable Sarah Netburn
April 21, 2017
Page 4
_______________________________________

notice, is to preserve Dr. Hassan’s trial testimony in a manner that prevents plaintiffs from knowing
in advance anything about that witness, the subject of the testimony, or the documents to be used
with the witness.
         Although the Federal Rules of Civil Procedure do not distinguish between discovery
depositions and depositions to perpetuate testimony to determine their trial admissibility, the two
types are nonetheless treated differently in other respects. The purpose of a discovery deposition is
to enable the party taking a deposition to position itself to gather evidence with which to meet the
trial testimony of a witness. Accordingly, the party taking the deposition is entitled to obtain that
kind of discovery testimony from a prospective witness before having to confront that witness in a
trial-type setting, such as a deposition to perpetuate testimony.
         Other federal courts that have addressed this very issue have ordered that, before a witness’s
trial preservation testimony is taken, discovery pertinent to affording counsel an opportunity to
confront the witness’s trial testimony must be completed. 19th Street Baptist Church v. St. Peters
Episcopal Church, 190 F.R.D. 345, 350 (E.D. Pa. 2000); see Envir-O-Man, Inc. v. The Mountbatten Surety
Co., Inc., Civ. No. 1998/143, 2000 U.S. Dist. LEXIS 17210 (D.VI, Nov. 13, 2000), at *7 (ordering
plaintiffs discovery deposition before video trial deposition). In 19th Street Baptist Church, the court
required that, before the trial deposition could be taken, the party proffering the witness had to
satisfy all self-executing disclosure requirements, including relevant Rule 26 disclosures, had to
provide a detailed proffer of the witness’s expected testimony and a copy of each document to be
relied upon at the trial deposition, and had to afford an opportunity for the opposing party to take a
discovery deposition of the witness before the trial deposition. 190 F.R.D. at 350.
         In Linde v. Arab Bank, PLC, 04 Civ. 2799 (NG)(VVP) (and related cases), terror financing
litigation in the Eastern District of New York, the court addressed a similar issue, when the
defendant, Arab Bank, asked for discovery of third-party fact witnesses as to whom plaintiffs
proposed to preserve their trial testimony in overseas depositions. The Court noted the distinct
purposes of the two types of testimony, and reasoned that “it seems to me that a party is entitled to
obtain [a discovery deposition] from a perspective witness before having to confront that witness . . .
in a trial-type setting which is what the deposition to perpetuate testimony is.” Exhibit A, Transcript
of Conference, at 8, Linde v. Arab Bank, PLC, 04 Civ. 2799 (NG)(VVP)(and related cases). In that
case, Magistrate Judge Pohorelsky issued a ruling that required the witnesses to be made available for
discovery depositions in advance of their depositions to perpetuate testimony. Exhibit B, Discovery
Conference Ruling, ECF No. 657, 1:04-cv-05564-NG-VVP.
        Here, plaintiffs have never had an opportunity to conduct a discovery deposition of Dr.
Hassan, and thus have no way of knowing before the proposed trial testimony what information he
may possess. Further, as DIB has proscribed, plaintiffs’ questioning will be relegated to the few
hours reserved on the second day of the deposition. In addition, during discussions over the last
two days, DIB has made clear that it would object to producing the witness for a separate discovery
deposition before the proposed trial deposition, or for that matter at any other time.
         Under such circumstances as proposed, the deposition would be grossly prejudicial to
plaintiffs. As an initial matter, plaintiffs have not been afforded an opportunity to develop evidence
and information essential to conducting an effective cross examination of Dr. Hassan, a
circumstance that presents significant due process concerns. Further, under the time constraints and
other limitations DIB seeks to impose, plaintiffs would almost certainly be relegated to focusing all
        Case 1:17-cv-02003-GBD-SN Document 18 Filed 04/21/17 Page 5 of 7
The Honorable Sarah Netburn
April 21, 2017
Page 5
_______________________________________

of their time attempting to cross examine Dr. Hassan relating to the areas of testimony elicited
through DIB’s direct examination, and would thus be deprived of any meaningful opportunity to
conduct a discovery deposition of Dr. Hassan. Thus, DIB’s approach would allow defendants in
this MDL to unilaterally notice the depositions of their own witnesses, consume half of the allotted
time perpetuating testimony favorable to the defendant, and relegate plaintiffs to a brief window
following the direct examination to conduct both necessary cross-examination and discovery
inquiries. That approach simply is not fair in this instance or in the MDL generally.
        A protocol that deprives plaintiffs of an opportunity to conduct a discovery deposition is
especially inappropriate here. First, Dr. Hassan is a witness who has worked in an esoteric area of
Sharia Compliance Finance for more than 50 years, including 18 years serving on DIB’s Sharia
Board. The complexity of the subject matter, coupled with the breadth of his experience working
for DIB in a senior position, uniquely demand that plaintiffs be afforded an opportunity to conduct
a discovery deposition, with sufficient time to prepare to confront his trial testimony.
        Second, and relatedly, DIB has produced very little information concerning Dr. Hassan’s
tenure at DIB, or the activities of the Sharia Board on which he served for 18 years. In this regard,
DIB has broadly objected to plaintiffs’ document requests relating to the activities of the Sharia
Board, and provided only a handful of relevant documents. Those materials include a single
document identifying Dr. Hassan as a member of the Sharia Board in December 1998, and a March
12, 1975 document labeled “DIB’s Articles of Incorporation Outlining Sharia Board Legal
Responsibilities.” Within Bates ranges DIB002364-2456 and DIB002457-2699, DIB has produced
some additional information referencing the Sharia Board and describing in general terms the nature
of the Sharia Board’s functions and activities, but again these documents are not particularly
detailed. In addition, many of these documents are in Arabic, and DIB has not identified which, if
any, of those documents it intends to use during the course of the deposition.
        In this circumstance and in this complex MDL proceeding generally, plaintiffs believe it
appropriate and necessary that a party seeking to preserve trial testimony afford opposing parties an
opportunity to first conduct a discovery deposition, and then proceed on a mutually agreeable date
thereafter with the proposed de ben esse deposition.2
       2.     The absence of appropriate protocols to ensure fairness and due process is the
product of DIB’s failure to confer with plaintiffs about the proposed deposition.
        As discussed above, aside from cursory emails exchanged on February 27 and 28, 2017, in
which plaintiffs’ counsel specifically noted that they would likely have process issues in need of
resolution before the proposed deposition could proceed, DIB made no effort to contact plaintiffs’
counsel between February 28, 2017 and April 14, 2017. As the party seeking an accommodation to
perpetuate the trial testimony of its own witness in a foreign country by agreement in a massive
MDL proceeding, it was incumbent upon DIB to take appropriate steps sufficiently in advance of
the proposed deposition to resolve any potential disagreements relating to the process and protocols
for the deposition, most especially where plaintiffs’ original email noted those issues.


2 As referenced previously, plaintiffs did in fact inquire during the recent discussions with counsel for DIB

whether DIB would agree to produce Dr. Hassan for a separate discovery deposition. DIB advised that it
would object to producing Dr. Hassan at any other time.
        Case 1:17-cv-02003-GBD-SN Document 18 Filed 04/21/17 Page 6 of 7
The Honorable Sarah Netburn
April 21, 2017
Page 6
_______________________________________

        The need to do so should have been especially apparent to DIB given the complexity of this
MDL proceeding. In most any MDL proceeding, it is customary to set forth protocols and rules for
depositions in detail through a Case Management Order, given the unique realities of large scale
MDL litigation. In fact, the Manual on Complex Litigation includes sample orders relating to
depositions, which include specific rules and procedures for conducting video depositions and
similar matters. See, e.g., Exhibit C. Because discovery proceedings in the present MDL have
focused almost exclusively on document discovery, no such protocols are yet in place, a fact well
known to DIB. Further, the nature of the deposition DIB was seeking to conduct singularly called
out for development of such protocols in advance, given that it would be the first ever foreign
deposition of a party witness and the first ever de bene esse deposition in this MDL, and given that
DIB intended to assert that it should be conducted without first allowing a discovery deposition.
         DIB has provided absolutely no explanation for its failure to reach out to plaintiffs at any
point between February 28, 2017 and April 14, 2017, to confer about the process and other issues
raised in plaintiffs’ February 28, 2017 email. DIB’s failure to do so, along with other circumstances,
left plaintiffs with the entirely reasonable impression that DIB had decided to defer the deposition
by a few months, given further developments in the MDL proceedings.3
        Ironically, DIB asks the Court to direct that the deposition proceed on the grounds that
DIB’s witness and counsel have longstanding arrangements in place to travel to London. If that is
the case, it is difficult to understand why DIB’s counsel did not notice the deposition at any point
before April 19, 2017, only thirteen days before the date of the deposition scheduled in London..
        3.      DIB has explained no need for Dr. Hassan’s testimony or why the deposition cannot
be rescheduled to a date in the near future, to allow the parties time to confer about MDL protocols
to preserve testimony.
        Although DIB has expressed its desire to preserve Dr. Hassan’s testimony, aside from
advising plaintiffs’ counsel that Dr. Hassan is an octogenarian, DIB has provided no reason why the
deposition is essential or why it could not be rescheduled to a date a few weeks from now, to afford
the parties an opportunity to work through appropriate protocols for the conduct of a deposition of
this nature.
        Before a district court will order the perpetuation of testimony, the court must be satisfied
that the perpetuation may prevent a failure or delay of justice. To meet that burden, DIB must
show “a need for [the testimony] that cannot easily be accommodated by other potential witnesses.”
Deiulemar Compagnia di Navigazione S.P.A. v. M/V Allegra, 198 F.3d 473, 486 (4th Cir. 1999) (quoting
Penn Mut. Life Ins. v. United States, 68 F.3d 1371, 1375 (D.C. Cir. 1995). DIB has indicated that the
subject of Dr. Hassan’s testimony will be the functions, role, and activities of DIB’s Sharia Board. If
so, then DIB has not met its burden of showing a need to preserve this particular Sharia Board
member’s testimony. Because the Sharia Board is a continuing body at DIB comprised of five
members, any one of who could testify about those same subjects, DIB has not shown a need to
perpetuate his trial testimony.

3 Due to DIB’s silence following the cursory email exchanges in late February, and the fact that DIB did not

serve formal notice of deposition during the two months following that cursory exchange, plaintiffs made no
arrangements to travel to London during the first week of May. At this late date, plaintiffs would face
exorbitant and unnecessary travel costs to travel to London on extremely late notice.
        Case 1:17-cv-02003-GBD-SN Document 18 Filed 04/21/17 Page 7 of 7
The Honorable Sarah Netburn
April 21, 2017
Page 7
_______________________________________

         Further, to the extent there may be any need for the deposition, DIB’s conduct in arranging
the deposition confirms the lack of urgency to conduct it during the first week of May. DIB raised
its potential interest in scheduling depositions to preserve testimony during the hearing in October,
but then took no further action for four months thereafter. When it did communicate about
potential dates for the deposition in late February, it proposed the deposition would be held more
than two months later, again signaling no immediate urgency. Then it dropped the matter until
plaintiffs prompted a discussion to determine whether the deposition would be rescheduled.
        DIB’s desire to preserve the testimony of a single witness for a limited purpose, with no
explanation for why it needs that witness’s testimony, or why it needs it on the date asserted in early
May, should be balanced against the enormous inefficiency suggested by the manner in which DIB
has proposed the deposition. Although DIB has previously suggested it has several witnesses whose
testimony it seeks to preserve, it has proposed only one. In short, though multiple DIB witnesses
may ultimately be at issue, DIB has proposed that plaintiffs’ counsel fly to London on thirteen days’
notice, at exorbitant cost, and stay for a week, to conduct a single deposition. Plaintiffs suggest that
the proposal defies the admonition of Rule 1 to administer the rules to secure the inexpensive
determination of proceedings and the principles of conducting an MDL to produce efficiency.
       Given that this issue is likely to arise repeatedly in the MDL, these conversations should be
conducted between the Plaintiffs’ Executive Committee and Defendants’ Executive Committees,
with input from the new plaintiffs who have joined the action recently and may have an interest in
how particular depositions will proceed.
         Once again, plaintiffs do not object in principle to conducting depositions of Dr. Hassan in
the near future, under circumstances that assures fairness and due process. Accordingly, plaintiffs
request that the court quash the existing notice for Dr. Hassan’s deposition in London on May 3 and
4, 2017, and order the parties (with the PECs and DEC) to confer and propose for the Court’s
consideration and approval appropriate protocols for foreign and de bene esse depositions in this
MDL and regarding a mutually agreeable date to proceed with Dr. Hassan’s deposition. In the
alternative, plaintiffs request that before Dr. Hassan’s trial deposition may take place, that DIB be
required (1) to satisfy all self-executing disclosure requirements, including relevant Rule 26
disclosures as to Dr. Hassan, (2) to provide a detailed proffer of the expected testimony of the
witness and a copy of each document anticipated to be relied upon at the trial deposition, and (3) to
afford plaintiffs an opportunity to take a discovery deposition of the witness a reasonable time
before the trial deposition to allow preparation to confront the witness’s trial-type testimony. 19th
Street Baptist Church, 190 F.R.D. at 350.
Dated this 21st day of April 2017.

                                               Respectfully submitted,

/s/ Sean Carter                                      /s/ Robert T. Haefele
SEAN CARTER                                          ROBERT T. HAEFELE
PLAINTIFFS’ EXECUTIVE COMMITTEES                     PLAINTIFFS’ EXECUTIVE COMMITTEES

cc:     All counsel of record via ECF
